                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

In re:

ANGELA SWORD LEWIS                                         Chapter 7
THOMAS K. LEWIS                                            Case No. 11-44385-wsd
                                                           Hon. Walter Shapero
               Debtors.
                                           /

                    ORDER AUTHORIZING EMPLOYMENT OF
          OSIPOV BIGELMAN, P.C., AS COUNSEL FOR CHAPTER 7 TRUSTEE

         The Chapter 7 Trustee having filed his Application to Employ OSIPOV BIGELMAN,

P.C., as Counsel for Trustee with attached affidavit and the Court being fully advised in the

premises;

         IT IS HEREBY ORDERED that:

         (A)   OSIPOV BIGELMAN, P.C., is authorized to act as counsel for the Trustee in this

case pursuant to the terms and conditions set forth in the Application and its supporting

Affidavit;

         (B)   Compensation may be paid after application and after Court order authorizing

payment.


                                               .

Signed on June 15, 2011
                                               ____ __/s/ Walter Shapero_    ___
                                                  Walter Shapero
                                                  United States Bankruptcy Judge




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